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                   IN THE UNITED STATES DISTRICT COUI
                   FOR THE EASTERN DISTRICT OF VIRGW
                                 RICHMOND DIVISION


KYSS BURTON, by her mother, SAKIA HALL )
as next friend,                                       )


and                                                   )


SAKIA HALL,                                           )


                               Plaintiffs,            )


v.                                                    )   Civil Action No.   P'
                                                      )
HAROLD FORD,                                          )
                                                      )
                               Defendant.             )


                                NOTICE OF REMOVAL


       HAROLD FORD ("Officer Ford"), pursuant to 28 U.S.C. § 1446, notes the

removal of the action filed against him by Plaintiffs Kyss Burton and Sakia Hall.

        1.     On or about August 26,2010, Plaintiffs filed a Complaint against him in

the Circuit Court for the City of Richmond, Case No. CL10-3675. A copy of the

Complaint is attached as Exhibit A. A copy of Officer Ford's Answer is attached as

Exhibit B.


       2.      In the Complaint, Plaintiffs allege that Officer Ford deprived Kyss Burton

of her constitutional rights in excessive force, falsely arresting and imprisoning her in

violation of state laws and section 42 U.S.C. 1983. See Complaint ffl| 13-33. Pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1441 this case may be removed to this Court.

Whenever a separate cause of action within the jurisdiction conferred by Section 1331 is

joined with an otherwise non-removable claim the entire case may be removed.
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       3.      Venue lies in this Court because Plaintiffs' action is pending in this


District and Division. 28 U.S.C. § 1441(a).


       4.      Notice has been given this day to the Circuit Court for the City of


Richmond that this Notice of Removal has been filed. Attachment B.


       WHEREFORE, defendant Officer Harold Ford notes his removal of this case


from the Circuit Court for the City of Richmond to the United States District Court for


the Eastern District of Virginia, Richmond Division.


                                              Respectfully Submitted,


                                              HAROLD FORD


                                              By Counsel




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                            CERTIFICATE OF SERVICE


       I, Brian K. Telfair, hereby certify that on the <**>    day of January, 2011, a true


copy of the foregoing Notice of Removal was mailed first-class, postage pre-paid, to:


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                                      Metropolitan Law Center, PLC
                                      10035 Sliding Hill Road, Suite 204
                                      Ashland, Virginia 23005
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